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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    THE REPORTERS COMMITTEE FOR
    FREEDOM OF THE PRESS,

                  Plaintiff,

           v.                                        Civil Action No. 18-cv-00345 (RJL)

    FEDERAL BUREAU OF
    INVESTIGATION

    and

    UNITED STATES DEPARTMENT
    OF JUSTICE,

                  Defendants.


           NOTICE TO THE COURT OF RESTORATION OF APPROPRIATIONS

          On January 21, 2019, this Court granted Defendants’ motion for a stay of all proceedings

in the above-captioned case commensurate with the duration of the lapse of appropriations for the

Department of Justice. As of January 25, 2019, funding was restored through February 15, 2019,

for the Department of Justice, and the Department has now resumed its usual civil litigation

functions. Undersigned defense counsel met and conferred with Plaintiff’s counsel, and the parties

agree that, consistent with the Court’s Order, the parties’ deadline for their next joint status report

is February 22, 2019. The parties therefore will file a joint status report on or before that date.


Dated: January 28, 2019                Respectfully submitted,

                                       JOSEPH H. HUNT
                                       Assistant Attorney General

                                       ELIZABETH J. SHAPIRO
                                       Deputy Director, Federal Programs Branch
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